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 7                                  UNITED STATES DISTRICT COURT
 8                                 CENTRAL DISTRICT OF CALIFORNIA
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10
      FRANCISCO SANVOVAL, an individual,       )         No. 2:15cv04880-RGK (RAOx)
11    HEIDI ARELLANO, an individual, C.S.A.,   )
      a minor by and through his guardian ad   )
12    litem, REYNA VENCES,                     )         ORDER
                                               )         ___________________________
13          Plaintiffs,                        )
                                               )
14       v.                                    )
                                               )
15    LAGOON ASSOCIATES, LLC, a                )
      California Limited Liability Company;    )
16    COASTLINE REAL ESTATE ADVISORS, )
      LLC., a California Limited Liability     )
17    Company; LARO PROPERTIES, LP, A          )
      California Limited Partnership; LAGOON )
18    CCP, LLC, A California Limited Liability )
      Company, and DOES 1 through 10,          )
19    Inclusive,                               )
                                               )
20          Defendants                         )
                                               )
21    ______________________________           )
22

23
              After considering the Stipulation for Dismissal filed herein, IT IS HEREBY ORDERED
24
      THAT:
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26
              The first amended complaint filed by Plaintiffs FRANCISCO SANVOVAL, HEIDI
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28
                                                 ORDER                                             1
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 1    ARELLANO, and C.S.A., a minor by and through his guardian ad litem, REYNA VENCES, in this
 2    matter is hereby dismissed with prejudice as to all Defendants, with each party bearing their own costs
 3    and attorney’s fees.
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 5                   IT IS SO ORDERED
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 8    Dated:
                                                           United States District Court Judge
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                                                   ORDER                                                    2
